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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

MICHAEL ANDREWS, et al., *
Plaintiffs *
Vv. *
Case No.:
MARYLAND DEPARTMENT OF PUBLIC *
SAFETY AND CORRECTIONAL
SERVICES, et al., *
Defendants *
* * * * * * * * * * * * *
NOTICE OF REMOVAL

Defendants Robert L. Green, Annie D. Harvey, and Carolyn Scruggs (the “Served
Defendants”), by their attorneys, Anthony G. Brown, Attorney General of Maryland, and Sandra
D. Lee, Assistant Attorney General, file this Notice of Removal from the Circuit Court for Howard
County, pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, and in support thereof state as follows:

1. On or about October 21, 2022, Plaintiffs Michael Andrews and John Fishback
(“Plaintiffs”) filed suit against the Served Defendants, Robert L. Green, Annie D. Harvey, Carolyn
Scruggs, and against unserved Defendants the Maryland Department of Public Safety and
Correctional Services, Wayne Hill, Jama Acuff, and Casey Campbell (collectively referred to as
“Defendants”), in the Circuit Court for Howard County, Maryland, in Civil Action No. C-13-CV-
22-000893. Plaintiffs’ Complaint alleges ongoing violations of the laws protecting prisoners with
disabilities and perceived disabilities and violations of the Fourteenth Amendment and Eighth
Amendment of the United States Constitution and alleges resulting injuries to Plaintiffs.

2, The Complaint contains five (5) Counts. Count I is brought pursuant to 42 U.S.C.

§§ 12101-12165, and 12202-12213, and Count II is brought pursuant to 29 U.S.C. § 794; Counts

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I and II claim that Plaintiffs are disabled individuals and that Defendants violated Plaintiffs’ rights
under the Americans with Disabilities Act (“ADA”) and under the Rehabilitation Act. Count III is
brought pursuant to 42 U.S.C. § 1983, claiming that Defendants violated Plaintiffs’ rights under
the Fourteenth Amendment and Eighth Amendment of the United States Constitution.

oe This Court has original federal question joriadetion of this action pursuant to 28
U.S.C. §1331, in that Plaintiffs claim that Defendants violated Plaintiff's rights under the laws of
the United States and under the United States Constitution.

4. The Complaint seeks compensatory damages in an amount greater than $75,000.00.

5. Pursuant to 28 U.S.C. § 1441(a), “any civil action brought in a State court of which
the district courts of the United States have original jurisdiction, may be removed by the defendant
or the defendants, to the district court of the United States for the district and division embracing
the place where such action is pending.”

6. Service was accepted for the Served Defendants, Robert L. Green, Annie D.
Harvey, and Carolyn Scruggs, on December 22, 2022. The Served Defendants all join in the
instant request removal.

7. Defendants Maryland Department of Public Safety and Correctional Services,
Wayne Hill, Jama Acuff, or Casey Campbell have not yet been served. When they are served,
undersigned counsel will represent these Defendants, and they will consent to removal.

8. This Notice of Removal is filed within thirty (30) days of service of the Complaint
on the Served Defendants.

9. A copy of the Complaint and Demand for Jury Trial, Demand for Jury Trial, and
Writs of Summons filed in this action in the Circuit Court for Baltimore County, as well as a copy

of the docket entries from that Court, are attached hereto and incorporated herein as Exhibit A.

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10. Concurrent with the filing of this Notice of Removal, Defendants have provided
written notice (copy attached hereto as Exhibit B), to Plaintiff and to the Clerk of the Circuit Court
for Howard County that the case has been removed to the United States District Court for the
District of Maryland.

11. A copy of any additional State court pleadings and documents which have been
filed and served upon the Defendants will be timely filed pursuant to Local Rule 103.5 of the
United States District Court for the District of Maryland.

WHEREFORE, Defendants State of Maryland, former Warden Richard Dovey, and
Secretary Robert L. Green notify all parties that this action has been removed to the United States
District Court for the District of Maryland and that no further proceedings in this case will be had

in the Circuit Court for Howard County.

ANTHONY G. BROWN
Attorney General of Maryland

/s/
SANDRA D. LEE
Assistant Attorney General
Federal Bar No. 27902

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Attorneys for Defendants State of Maryland,
former Warden Richard Dovey, and
Secretary Robert L. Green

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this 23% day of January 2023, a copy of the foregoing
Notice of Removal was filed electronically with service via electronic filing and by email to:

- Allen E. Honick, Esquire

Dustin C. Furman, Esquire
FURMAN |HONICK LAW

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Attorneys for Plaintiff

/s/
SANDRA D. LEE
Assistant Attorney General

